  Case: 1:13-cr-00025-SJD Doc #: 630 Filed: 08/30/16 Page: 1 of 5 PAGEID #: 2267




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                    WESTERN DIVISION AT CINCINNATI

UNITED STATES OF AMERICA,

                              Plaintiff,             :      Case No. 1:13-cr-025 (6)
                                                            Also Case No. 1:16-cv-881


                                                            District Judge Susan J. Dlott
       -   vs   -                                           Magistrate Judge Michael R. Merz

ERIC BROCK,


                              Defendant.             :



                       REPORT AND RECOMMENDATIONS


       This case is before the Court on Eric Brock’s pro se Motion to Vacate under 28 U.S.C. §

2255 (ECF No. 627). The case has been referred to the undersigned Magistrate Judge by District

Judge Susan J. Dlott (ECF No. 629).

       Mr. Brock pleads one ground for relief:

                Ground One: Petitioner is seeking wheather [sic] the newly
                U.S.S.G. 794 Clarifying Amendment enacted Nov. 1, 2015 is
                applicable to his sentencing.

                Supporting Facts: Petitioner asserts during the sentencing phase
                of the proceeding the District Court never made an assessement
                [sic] of my role or pacticipation [sic] in the overall conspiracy.
                Thus, petitioner was never enhanced under any the leadership. or
                supervisor role in the offense, plus petitioner was not the head of
                the indictment or conspiracy. Also, petitioner never know [sic]


                                                 1
  Case: 1:13-cr-00025-SJD Doc #: 630 Filed: 08/30/16 Page: 2 of 5 PAGEID #: 2268




              about the scope of the other participants, he was basically in a
              buyer and seller relationship.

              Petitioner asserts, therefore now under this new amendment factors
              [sic] to 3B1.2, petitioners partication [sic] would fall under the
              cretria [sic] to be eligible for the minor role reduction.

(Motion, ECF No. 627, PageID 2254.)



Procedural History



       Defendant Brock was indicted February 20, 2013, with seventeen other defendants for

participation in a conspiracy to distribute narcotics (Indictment, ECF No. 1). On January 9,

2014, he entered into a written Plea Agreement with the United States in which he agreed to

plead guilty to Count One of the Superseding Indictment charging him with conspiracy to

possess heroin with intent to distribute (Plea Agreement, ECF No. 317, PageID 1024). The plea

was to be made pursuant to Fed. R. Crim. P. 11(c)(1)(C) with an agreed sentence of 120 months

(ten years). Id. at PageID 1025. Judge Dlott directed preparation of a Presentence Investigation

Report (PSR). After considering it, she sentenced Mr. Brock to the agreed sentence of ten years

(ECF Nos. 453, 454). Judgment was entered December 4, 2014, and Brock took no appeal. He

filed the instant § 2255 Motion on August 29, 2016.



                                         Analysis


       A prisoner seeking relief under 28 U.S.C. § 2255 must allege either “(1) an error of

constitutional magnitude; (2) a sentence imposed outside the statutory limits; or (3) an error of


                                               2
  Case: 1:13-cr-00025-SJD Doc #: 630 Filed: 08/30/16 Page: 3 of 5 PAGEID #: 2269




fact or law that was so fundamental as to render the entire proceeding invalid” Mallett v. United

States, 334 F.3d 491, 496-97 (6th Cir. 2003). In other words, to warrant relief under § 2255, a

prisoner must demonstrate the existence of an error of constitutional magnitude which had a

substantial and injurious effect of influence on the guilty plea or the jury’s verdict. Griffin v.

United States, 330 F.3d 733, 737 (6th Cir. 2006), citing Brecht v. Abrahamson, 507 U.S. 619, 637

(1993). To obtain relief under 28 U.S.C. § 2255, a defendant must establish the denial of a

substantive right or defect in the trial that is inconsistent with the rudimentary demands of fair

procedure. United States v. Timmreck, 441 U.S. 780 (1979); United States v. Ferguson, 918 F.2d

627, 630 (6th Cir. 1990)(per curiam). Relief under 28 U.S.C. § 2255 is available when a federal

sentence was imposed in violation of the Constitution or laws of the United States or the trial

court was without jurisdiction or the sentence is in excess of the maximum sentence allowed by

law, or is "otherwise subject to collateral attack." United States v. Jalili, 925 F.2d 889, 893 (6th

Cir. 1991). Apart from constitutional error, the question is "whether the claimed error was a

'fundamental defect which inherently results in a complete miscarriage of justice.'" Davis v.

United States, 417 U.S. 333, 346 (1974), quoting Hill v. United States, 368 U.S. 424, 428-429

(1962); see also Griffin v. United States, 330 F.3d 733, 736 (6th Cir. 2006). Nonconstitutional

claims not raised at trial or on direct appeal are waived for collateral review except where the

errors amount to something akin to a denial of due process; mistakes in the application of the

sentencing guidelines will rarely, if ever, warrant relief from the consequences of waiver. Grant

v. United States, 72 F.3d 503, 506 (6th Cir. 1996).

       Mr. Brock does not assert any error at all in his sentence, even in application of the

Sentencing Guidelines. In fact, the Guideline range in this case was 188 to 235 months and




                                                 3
  Case: 1:13-cr-00025-SJD Doc #: 630 Filed: 08/30/16 Page: 4 of 5 PAGEID #: 2270




Brock received a sentence more than five years below the Guidelines because of the Plea

Agreement.

       Brock seeks an adjustment in his sentence because he claims he had a minor role in the

offense and he seeks the benefit of Sentencing Guideline Amendment 794. The facts of the

offense and Brock’s participation set out in the PSR do not suggest that he was a minor

participant under U.S.S.G. 3B1.2, either before or after the November 1, 2015, amendment. But

even if he qualified for a two-level decrease as a minor participant, that would reduce the

Guideline range to 140 to 188 months with the bottom end of the range being almost two years

more than the sentence he received.

       Finally, Brock was sentenced in December 2014, eleven months before Amendment 794

was enacted.    With exceptions not applicable here, Guideline amendments do not have

retroactive effect. U.S.S.G. § 1B1.10.




Conclusion



       Based on the foregoing analysis, the Magistrate Judge respectfully recommends Mr.

Brock’s § 2255 Motion be DISMISSED WITH PREJUDICE. Because reasonable jurists would

not disagree with this conclusion, Petitioner should be denied a certificate of appealability and

the Court should certify to the Sixth Circuit that any appeal would be objectively frivolous and

therefore should not be permitted to proceed in forma pauperis.




                                               4
  Case: 1:13-cr-00025-SJD Doc #: 630 Filed: 08/30/16 Page: 5 of 5 PAGEID #: 2271




       Brock’s Motions to Appoint Counsel (ECF No. 626) and for a Transcript (ECF No. 628)

are DENIED as moot.



August 30, 2016.

                                                               s/ Michael R. Merz
                                                              United States Magistrate Judge


                           NOTICE REGARDING OBJECTIONS

Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections to the
proposed findings and recommendations within fourteen days after being served with this Report
and Recommendations. Pursuant to Fed. R. Civ. P. 6(d), this period is extended to seventeen
days because this Report is being served by one of the methods of service listed in Fed. R. Civ.
P. 5(b)(2)(C), (D), (E), or (F). Such objections shall specify the portions of the Report objected
to and shall be accompanied by a memorandum of law in support of the objections. If the Report
and Recommendations are based in whole or in part upon matters occurring of record at an oral
hearing, the objecting party shall promptly arrange for the transcription of the record, or such
portions of it as all parties may agree upon or the Magistrate Judge deems sufficient, unless the
assigned District Judge otherwise directs. A party may respond to another party=s objections
within fourteen days after being served with a copy thereof. Failure to make objections in
accordance with this procedure may forfeit rights on appeal. See United States v. Walters, 638
F.2d 947, 949-50 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140, 153-55 (1985).




                                                5
